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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:22-CR-00309-ADA-DAM
11
                                  Plaintiff,
12                                                       STIPULATION REGARDING EXCLUDABLE
                           v.                            TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                                                       ORDER
     LUIS MAURICIO CASTENON,
14                                                       CURRENT DATE: October 11, 2023
                                 Defendant.              TIME: 1:00 p.m.
15                                                       COURT: Hon. Barbara A. McAuliffe
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and LUIS MAURICIO
19 CASTENON, by and through defendant’s counsel of record, Anthony Capozzi, hereby stipulate as

20 follows:
21          1.     By previous order, this matter was set for status on October 11, 2023.
22          2.     By this stipulation, defendant now moves to continue the status conference until
23 November 8, 2023, and to exclude time between October 11, 2023, and November 8, 2023, under 18

24 U.S.C.§ 3161(h)(7)(A), B(iv).

25          3.     While the parties anticipate that the case may resolve without a trial, this is not yet a
26 certainty. On May 16, the Court authorized current defense counsel to substitute in on the case. On

27 June 6, 2023, defense counsel advised undersigned counsel he has not yet obtained discovery from Mr.

28 Castenon’s prior counsel due to a protective order being in place. The government then provided Mr.


      STIPULATION FOR PROTECTIVE ORDER                   1
          Case 1:22-cr-00309-NODJ-BAM Document 43 Filed 10/05/23 Page 2 of 3

 1 Capozzi discovery. The parties agree and stipulate, and request that the Court find the following:

 2                 a)      The government asserts that discovery in this matter has been provided to

 3          defendant’s counsel. The government is aware of its ongoing discovery obligations.

 4                 b)      The parties will engage in further discussions regarding a resolution of the case.

 5                 c)      Counsel for the defendant desires additional time to consult with his client, to

 6          review the current charges, to conduct investigation and research related to the charges, to review

 7          and/or copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 8          pretrial motions, and to otherwise prepare for trial. Additionally, counsel for defendant has an

 9          urgent out of town matter for which he will be unavailable on October 11 and that arose after the

10          matters were previously scheduled.

11                 d)      Counsel for defendant believes that failure to grant the above-requested

12          continuance would deny them the reasonable time necessary for effective preparation, taking into

13          account the exercise of due diligence.

14                 e)      The government does not object to the continuance.

15                 f)      Based on the above-stated findings, the ends of justice served by continuing the

16          case as requested outweigh the interest of the public and the defendant in a trial within the

17          original date prescribed by the Speedy Trial Act.

18                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

19          et seq., within which trial must commence, the time period of October 11, 2023 to November 8,

20          2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) , because it

21          results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

22          finding that the ends of justice served by taking such action outweigh the best interest of the

23          public and the defendant in a speedy trial.

24          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

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      STIPULATION FOR PROTECTIVE ORDER                    2
          Case 1:22-cr-00309-NODJ-BAM Document 43 Filed 10/05/23 Page 3 of 3

 1 must commence. IT IS SO STIPULATED.

 2
           DATED: October 4, 2023                   PHILLIP A. TALBERT
 3                                                  United States Attorney
 4
                                                    By: /s/ Kimberly A. Sanchez
 5                                                  KIMBERLY A. SANCHEZ
                                                    Assistant U.S. Attorney
 6

 7
           DATED: October 4, 2023                   By: /s/ Anthony Capozzi
 8                                                  ANTHONY CAPOZZI
                                                    Attorney for Defendant
 9                                                  LUIS MAURICIO CASTENON

10

11
                                                ORDER
12
           IT IS SO ORDERED that the status conference is continued from October 11, 2023, to November
13 8, 2023, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

14 18 U.S.C. § 3161(h)(7)(A), B(iv).

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16 IT IS SO ORDERED.

17      Dated:    October 5, 2023                       /s/ Barbara A. McAuliffe           _
18                                                UNITED STATES MAGISTRATE JUDGE

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      STIPULATION FOR PROTECTIVE ORDER              3
